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UNITED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
EASTERN D|V|SlON
UN|TED STATES OF AMERICA

_v- 04_10046-01-'r

 

ALBERT LEON SMITH
Robert C. Brooks CJA
Defense Attorney
P. O. Box 771558
Memphis, TN 38177

 

 

JUDGMENT |N A CRlMlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 81-87 of the Superceding indictment on December
13, 2004. Accordingiy, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title s. section §M_Of_€>ffense gram midst

21 U.S.C. § 841(3)(1) Possession with intent to Distribute 11/26/2003 31
Cooaine Base

21 U.S.C. § 841(a((1) Possession with intent to Distribute 07/31/2002 84
Cooaine Base

21 U.S.C. § 841(a)(1) Possession with intent to Distribute 12/03/2001 85
Cocaine Base

21 U.S.C. § 841(a)(1) Possessicn with intent to Distribute 01/17/2003 32
Cooaine Base

21 U.S.C. § 841(a)(1) Possession with intent to Distribute 01/08/2003 33
Cooaine Base

21 U.S.C. § 841(a)(1) Possession with intent to Distribute 07/02/2004 86
Cooaine Base

21 U.S.C. § 841(a)(1) Possession with intent to Distribute 07/02/2004 37
One-Hundred (100) Dosage Units of
Ecstasy

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the i\/landatory
Victims Restitution Act of 1996

Count(s) 88 dismissed on the motion of the United States.

This document entered on the docket sheet in compliance

with nuie 55 and/or 32(b) FRch on § lfr- -2 i -GS §§

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|T lS FU RTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of namel residence, or mailing address until ali fines, restitutionl costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/30/1970 June 13, 2002
Deft’s U.S. Niarsha| No.: 19642-076

Defendant’s Mai|ing Address:
410 Joy Street
Grand Junction, TN 38039

A.Q»M

JAIV|E . TODD
CH|E NITED STATES D|STR|CT JUDGE

June 2 § ,2005

 

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lMPRiSONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 235 Months as to each of Counts S1-S7 of the

Superceding indictment

The Court recommends to the Bureau of Prisons: institution where defendant can
receive intensive residential drug treatment

The defendant is remanded to the custody of the United States Niarsha|.

RETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES i\/|ARSHAL
By:

 

Deputy U.S. iViarshal

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SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 5 years as to each of Counts S1-S7 of the Superceding indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation ocher and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawqu occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant sha|i refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used.
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to connrm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminai i\/ionetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program of testing and treatment for drug
abuse as directed by the U. S. Probation Officer, until such time as the defendant is reieased
from the program by the U. S. Probation Officer.

2. The defendant shall cooperate with the U. S. Probation Office in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fuii before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Tota| Fine Totai Restitution

$700.00

The Special Assessment shall be due immediatelyl

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F|NE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

DISTRIC COURT - WESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 63 in
case 1:04-CR-10046 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

i\/lemphis7 TN 38177

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highiand Ave.
Jackson7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

